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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 ALISSA GERRAN, et al.,                          )
                                                 )
                Plaintiffs,                      )
                                                 )
        v.                                       )     Case No. 4:24-CV-00843-SPM
                                                 )
 CITY OF FERGUSON, et al.,                       )
                                                 )
                Defendants.                      )

                                MEMORANDUM AND ORDER

         This matter is before the Court on Plaintiffs’ Motion to Remand. ECF No. 71. Defendants

have notified the Court that they do not oppose remand. ECF No. 77. The parties have consented

to the jurisdiction of the undersigned United States Magistrate Judge pursuant to 28

U.S.C.§ 636(c)(1). ECF No. 17.

         The Court agrees with the parties that this case should be remanded to state court. In

Royal Canin U.S.A., Inc. v. Wullschleger, the Supreme Court recently held that when a plaintiff

amends a complaint after removal to eliminate the federal claims that enabled removal, the court

loses supplemental jurisdiction over the remaining state law claims and must remand the case to

the state court. 604 U.S. 22, 30, 39 (2025). Here, although Plaintiffs have not amended their

complaint to eliminate their federal claims, they have voluntarily dismissed their federal claims,

which has the same effect. At least one district court within the Eighth Circuit has found that

because a voluntary dismissal of federal claims has the same effect as an amendment of the

complaint to eliminate federal claims, Royal Canin mandates remand following voluntary

dismissal of federal claims. See In re Dividend Solar Fin., LLC, & Fifth Third Bank Sales &

Lending Pracs. Litig., No. MDL 24-3128 (KMM/DTS), 2025 WL 713360, at *2 (D. Minn. Mar.



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5, 2025) (finding Royal Canin mandated remand following post-removal voluntary dismissal of

federal claims pursuant to Fed. R. Civ. P. 41(a)(2) despite the absence of a post-removal

amendment of the complaint; stating, “[t]he Court sees no difference between the two procedural

mechanisms, as both land in the same place”; finding in the alternative that even if Royal Canin

did not mandate remand, the Court would decline to exercise supplemental jurisdiction pursuant

to 28 U.S.C. § 1367(c)(3)). But see Kahlon v. Cnty. of Nassau, No. 24-CV-2439 (BMC), 2025 WL

473980, at *3 (E.D.N.Y. Feb. 12, 2025) (distinguishing Royal Canin and finding the court had

supplemental jurisdiction over state law claims remaining after voluntary dismissal of federal

claims, but declining to exercise supplemental jurisdiction over the claims pursuant to 28 U.S.C.

§ 1367(c)(3)).

         The Court agrees with the court in In re Dividend Solar Finance that because there is no

substantive difference between Plaintiffs’ post-removal voluntary dismissal of their federal claims

and the post-removal amendment to eliminate federal claims addressed in Royal Canin, Royal

Canin mandates remand here. In the alternative, if Royal Canin does not mandate remand, the

Court declines to exercise supplemental jurisdiction of Plaintiff’s state law claims pursuant to 28

U.S.C. § 1367(c)(3) for the reasons indicated in its prior order. See ECF No. 76, at pp. 6-7.

         Because the Court finds remand is appropriate, the Court concludes that Plaintiffs’

Motion for Leave to File Fourth Amended Complaint (ECF No. 72) and Plaintiff Javon Buckner’s

Motion to Amend the Scheduling Order (ECF No. 48) should be addressed by the state court

following remand. Accordingly,

         IT IS HEREBY ORDERED that Plaintiffs’ Motion to Remand (ECF No. 71) is

GRANTED. An Order of Remand shall be entered separately.




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                                           SHIRLEY PADMORE MENSAH
                                           UNITED STATES MAGISTRATE JUDGE

Dated this 21st day of May, 2025.




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